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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

SUSANNE GIONET,
               Plaintiff,

vs.                                                       CASE NO: 1:22-CV-00610-CJN


                                                     PROPOSED ORDER FOR DEFENDANT’S
NANCY PELOSI, et al.,                                       MOTION TO DISMISS


               Defendants.


                                             ORDER

       Upon consideration of the Defendant’s Motion to Dismiss and the Plaintiff’s Response in

Opposition, and upon consideration of the entire record, it is hereby

ORDERED that the Defendant’s Motion is Denied, it is further

ORDERED granting declaratory relief to the Plaintiff, further

ORDERED that the Select Committee lacks a genuine legislative purpose




                                             __________________________________
                                             THE HON. CARL J. NICHOLS
                                             UNITED STATES MAGISTRATE JUDGE




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